                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )   Criminal No. 19-CR-10080-NMG
                                     )
DAVID SIDOO, et al.,                 )   ORAL ARGUMENT REQUESTED
                                     )
                   Defendants.       )
____________________________________)

 MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS COUNT
       ONE INSOFAR AS IT ALLEGES CONSPIRACY TO DEFRAUD
     TESTING COMPANIES OF PROPERTY AND HONEST SERVICES
                                              TABLE OF CONTENTS

                                                                                                                                 Page
I.     INTRODUCTION ............................................................................................................ 1

II.    BACKGROUND .............................................................................................................. 4

III.   ARGUMENT .................................................................................................................... 5

       A.        Conspiracy To Fraudulently Obtain “Money Or Property” .................................. 6

                 1.         Legal Standard .......................................................................................... 6

                 2.         “Test Scores” Do Not Constitute “Money Or Property” .......................... 7

                 3.         “Standardized Tests” Are Not An Object Of The Alleged
                            Conspiracy .............................................................................................. 10

       B.        Conspiracy To Obtain Theft Of Honest Services ............................................... 12

                 1.         Legal Standard ........................................................................................ 12

                 2.         The Indictment Does Not Allege A Relationship Giving Rise
                            To Fiduciary Duties ................................................................................ 13

IV.    CONCLUSION ............................................................................................................... 16




                                                                -i-
                                              TABLE OF AUTHORITIES
Cases

Bennett Importing v. Cont’l Airlines,
       1998 WL 34031697 (D. Mass. Dec. 27, 1998) ............................................................... 14

Carpenter v. United States,
      484 U.S. 19 (1987) ........................................................................................................ 6, 7

Cleveland v. United States,
       531 U.S. 12 (2000) .............................................................................................. 2, 6, 9, 10

De Lima v. Sessions,
      867 F.3d 260 (1st Cir. 2017) ............................................................................................. 6

Giragosian v. Ryan,
      547 F.3d 59 (1st Cir. 2008) ........................................................................................... 3, 9

Hamling v. United States,
      418 U.S. 87 (1974) .......................................................................................................... 11

McNally v. United States,
      483 U.S. 350 (1987) ...................................................................................................... 6, 7

Rewis v. United States,
       401 U.S. 808 (1971) .......................................................................................................... 6

Skilling v. United States,
        561 U.S. 358 (2010) .............................................................................................. 4, 13, 14

Spring Inv’r Servs., Inc. v. Carrington Capital Mgmt., LLC,
       2013 WL 1703890 (D. Mass. Apr. 18, 2013) ....................................................... 4, 13, 14

United States v. Alsugair,
       256 F. Supp. 2d 306 (D.N.J. 2003) ................................................................................... 6

United States v. Chandler,
       376 F.3d 1303 (11th Cir.) ................................................................................................. 2

United States v. Czubinski,
       106 F.3d 1069 (1st Cir. 1997) ..................................................................................... 4, 13

United States v. Ferrara,
       701 F. Supp. 39 (E.D.N.Y. 1988) ............................................................................. 2, 7, 8

United States v. Goldberg,
       913 F. Supp. 629 (D. Mass. 1996) .................................................................................. 11

United States v. Harder,
       168 F. Supp. 3d 732 (E.D. Pa. 2016) .............................................................................. 15
                                               - ii -
                                          TABLE OF AUTHORITIES (cont.)

                                                                                                                              Page(s)
United States v. Hedaithy,
       392 F.3d 580 (3d Cir. 2004).......................................................................................... 8, 9

United States v. Martin,
       228 F.3d 1 (1st Cir. 2000) ............................................................................................... 12

United States v. Sawyer,
       85 F.3d 713 (1st Cir. 1996) ............................................................................................. 13

United States v. Sorich,
       523 F.3d 702 (7th Cir. 2008) .................................................................................... 11, 12

United States v. Troy,
       618 F.3d 27 (1st Cir. 2010) ............................................................................. 3, 11, 12, 15

United States v. Universal C.I.T. Credit Corp.,
       344 U.S. 218 (1952) ...................................................................................................... 6, 7

United States v. Urciuoli,
       513 F.3d 290 (1st Cir. 2008) ........................................................................................... 13

United States v. Yefsky,
       994 F.2d 885 (1st Cir. 1993) ........................................................................... 3, 11, 12, 15

United States v. Zauber,
       857 F.2d 137 (3d Cir. 1988)............................................................................................ 15

Rules

Fed. R. Crim. P. 7(c)(1) .................................................................................................... 3, 11, 15

Fed. R. Civ. P. 201(b)(2)........................................................................................................... 3, 9




                                                                 - iii -
       Defendants respectfully submit this memorandum in support of the joint Motion To

Dismiss Count One Insofar As It Alleges Conspiracy to Defraud College Admissions Testing

Companies Of Property And Honest Services.1

I.     INTRODUCTION
       The Government alleges that Rick Singer agreed with William McGlashan, I-Hsin “Joey”

Chen, Marci Palatella, and Gregory and Amy Colburn (collectively, the “Testing Defendants”) to

have a proctor, Mark Riddell, change answers on ACT or SAT college admission exams taken by

the Testing Defendant’s children, in order to improve their scores, and to bribe a test site

“administrator” to permit the cheating. Count One of the indictment alleges that this constitutes a

conspiracy to defraud the testing companies (ACT, Inc., which administers the ACT, and the

College Board, which administers the SAT) of “money or property” in the form of “standardized

tests and test scores,” and of the “honest services” of the companies’ “test administrators[.]”

Fourth Superseding Indictment (“FSI”), ECF No. 732 ¶ 370.a. & b. In other words, according to

the Government, cheating on a college admissions exam—or even helping improve someone else’s

score without that person’s knowledge—is a violation of the federal mail and wire fraud statutes,

carrying a potential 20-year term of imprisonment. The alleged conspiracy to defraud the testing

companies should be dismissed because each of the three purported objects of the alleged fraud—

“test scores,” “standardized tests,” and “honest services”—fail as a matter of law.            The

Government’s overzealous effort to expand the sweep of federal criminal law flies in the face of



1 The indictment contains specific factual allegations regarding admissions testing only with
respect to Defendants William McGlashan, I-Hsin “Joey” Chen, Marci Palatella, and Gregory and
Amy Colburn (collectively, the “Testing Defendants”). See FSI ¶¶ 97, 107, 135, 138, 182, 191,
210, 216. Because the indictment names all Defendants in Count One, however, this motion is
joined by all Defendants, including those against whom no testing-related allegations are
made. (The indictment’s inclusion of numerous, distinct alleged conspiracies in a single count is
addressed in Defendants’ separate Motion To Dismiss, Or In The Alternative, To Sever, Pursuant
To Federal Rules of Criminal Procedure 8, 12(b)(3)(B)(i), (iv), And (v), 12(b)(3)(D), And 14.)
                                               -1-
decades of precedent regarding the scope of the mail and wire fraud statutes and the strict

construction they must be given.

       First, “test scores” are not a traditional form of property, as is required to constitute “money

or property” for purposes of mail and wire fraud. See United States v. Ferrara, 701 F. Supp. 39,

43 (E.D.N.Y. 1988) (holding that a certificate of passage of a standardized English proficiency

exam “is not a property interest cognizable under the federal mail fraud statute.”).              The

Government’s theory—that standardized test scores are “property” of the testing companies and

that cheating on a test is therefore within the scope of the mail and wire fraud statutes—would

represent an alarming expansion of federal criminal law. See United States v. Chandler, 376 F.3d

1303, 1314 (11th Cir.), on reh'g, 388 F.3d 796 (11th Cir. 2004) (“If we were to hold allegations of

an agreement to participate in ‘illegitimate’ conduct . . . sufficient to convict under the federal

conspiracy statute, then we would permit a ‘breathtaking’ expansion of a statute that already is

‘harnessed into service’ by the government when other prohibitions will not serve. The mail fraud

conspiracy statute applies broadly enough as it is. We shall not extend its reach even further.”)

(citations omitted). It would mean that almost any conceivable form of cheating on an exam, even

copying off a neighbor’s answer sheet, could constitute a federal felony punishable by up to 20

years’ imprisonment. This effort to criminalize such a vast swath of conduct flies in the face of

decades of precedent regarding the interpretation of federal criminal law generally, and mail and

wire fraud particularly. In addition, for purposes of the fraud statutes, “the thing obtained must be

property in the hands of the victim”—in this case the testing companies—not the Testing

Defendants or their children. Cleveland v. United States, 531 U.S. 12, 18 (2000) (emphasis added).

But as ACT, Inc. publicly acknowledges on its website, “students own their scores,” and they may




                                                -2-
even “direct ACT to delete” the scores if they choose.2 “Test scores” thus do not and cannot

constitute a form of “property” for purposes of mail or wire fraud.

       Second, although there may be circumstances in which the Government could attempt to

fashion an argument where “standardized tests” themselves might be considered “property” under

the fraud statutes, that is not what is alleged in this case. The indictment expressly alleges a

conspiracy involving, among other things, “fraudulently obtained test scores,” not fraudulently

obtained tests. FSI ¶ 65 (emphasis added). There is no allegation, for example, that the Testing

Defendants’ children were complicit in or even aware of the alleged cheating, that they were

ineligible to take the exams or receive score reports, or that anyone copied or removed proprietary

exam materials without permission. Rather, the Government’s inclusion of “standardized tests”

alongside “test scores” in the statutory charging language of Count One—at page 60 of a 70-page

indictment—appears to reflect a transparent effort to insert a potentially cognizable object of mail

and wire fraud next to one that almost certainly is not. But an indictment must allege “the essential

facts constituting the offense charged,” not merely statutory boilerplate. Fed. R. Crim. P. 7(c)(1)

(emphasis added)); see United States v. Troy, 618 F.3d 27, 34 (1st Cir. 2010); United States v.

Yefsky, 994 F.2d 885, 893 (1st Cir. 1993). The indictment does not allege any facts establishing a

scheme to fraudulently obtain “standardized tests,” and these allegations should be dismissed.

       Third, the alleged theft of honest services, which is based on allegations that a test site

administrator was “brib[ed]” to permit the alleged cheating (FSI ¶¶ 66.c. & 370.a.-b.), fails because

the indictment does not allege any facts establishing that the test administrator owed a fiduciary

duty to the testing companies, which is an essential element of theft of honest services. See United


2      See     Help      and     FAQ’s,      ACT        (accessed      March      31,    2020),
https://www.act.org/content/act/en/products-and-services/the-act/help.html#testday    (emphasis
added). The Testing Defendants respectfully request that the Court take judicial notice of this
publicly available information, the accuracy of which “cannot reasonably be questioned.” See
Fed. R. Civ. P. 201(b)(2); Giragosian v. Ryan, 547 F.3d 59, 65 (1st Cir. 2008).
                                                -3-
States v. Czubinski, 106 F.3d 1069, 1077 (1st Cir. 1997) (there “must be a breach of fiduciary

duty” to constitute theft of honest services); Skilling v. United States, 561 U.S. 358, 417 (2010)

(Scalia, Thomas, Kennedy, JJ., concurring in part) (noting that the existence of a fiduciary

relationship is “central to the ‘fraud’ offense”) (emphasis added). The Government alleges only

that the test administrator relevant here, Igor Dvorskiy, was “compensated” by the testing

companies.    FSI ¶ 32.    Although compensation, standing alone, may suffice to allege an

independent contractor relationship, an independent contractor “does not typically owe a fiduciary

duty for the services [he] performs.” Spring Inv’r Servs., Inc. v. Carrington Capital Mgmt., LLC,

2013 WL 1703890, at *7 (D. Mass. Apr. 18, 2013). A fiduciary relationship requires something

more, such as an employee-employer or attorney-client relationship. The indictment does not

allege any such facts. And although unnecessary to the Court’s decision, this fatal defect does not

appear to be one the Government could cure by superseding, as discovery produced in this case

suggests that Dvorskiy was in fact never more than an independent contractor of the testing

companies.

       Accordingly, and for the reasons set forth below, the Testing Defendants respectfully

request that the Court dismiss Count One of the indictment insofar as it alleges a conspiracy to

defraud ACT, Inc. and the College Board of money or property and of honest services.

II.    BACKGROUND3
        ACT, Inc. and The College Board (together with Educational Testing Service) are non-

profit organizations that develop and administer, respectively, the ACT and SAT standardized

college admissions exams. FSI ¶¶ 21, 22. The indictment alleges that the Testing Defendants

conspired with Rick Singer to have answers changed on their children’s ACT or SAT exams in



3 Movants respectfully request that the Court incorporate herein the factual and legal background
set forth in Defendants’ Motion to Dismiss Count One Insofar As It Alleges Conspiracy to Defraud
Universities of Property.
                                               -4-
order to improve their scores. See FSI ¶¶ 66 d., 97, 107, 135, 138, 182, 191, 210, 216. According

to the indictment, after the Testing Defendants’ children took their exams, Mark Riddell, who

served as a proctor for the exams, “secretly correct[ed]” answers on their exams, which were then

sent to the testing companies by Dvorskiy, the alleged test administrator. FSI ¶¶ 97, 107, 109,

138, 141, 191, 194, 216, 218. There is no allegation that any of Testing Defendants’ children were

complicit in or even aware of the alleged cheating.

       The Testing Defendants are charged in Count One of the indictment with a mail and wire

fraud conspiracy to defraud ACT, Inc. and The College Board of “money and property, to wit,

ACT, SAT and other standardized tests and test scores … and to defraud and deprive, variously,

ACT, Inc. [and] the College Board … of their right to the honest and faithful services of their test

administrators….” FSI ¶ 370.a.-b. With respect to the allegation of honest services fraud, the

indictment alleges that the conspiracy included “[b]ribing college entrance exam administrators

… to permit cheating, in violation of the administrators’ duty of honest services to ACT, Inc. and

the College Board….” FSI ¶ 66.c.

III.   ARGUMENT
       The Government alleges that the testing companies were defrauded of: (1) “money or

property,” in the form of “standardized tests and test scores”; and (2) “honest and faithful services

of their test administrators[.]” FSI ¶¶ 66.c & 370.a.-b. Standardized “test scores” are not a

traditional form of property and thus do not constitute “money or property” for purposes of the

mail and wire fraud statutes. “Standardized tests” are not objects of the alleged conspiracy under

any fair reading of the indictment, and the indictment thus fails to allege the essential facts of a

conspiracy to obtain “standardized tests.” Finally, theft of honest services is not adequately alleged

as an object of the conspiracy because the Government does not (and discovery suggests cannot)

allege that the relevant test administrator owed any fiduciary duty to either ACT, Inc. or the


                                                -5-
College Board. Accordingly, Count One should be dismissed to the extent it alleges a conspiracy

to defraud ACT, Inc. and the College Board of “money or property” and honest services.

       A.      Conspiracy To Fraudulently Obtain “Money Or Property”
               1.      Legal Standard
       As discussed in Defendants’ separate motion regarding university admissions slots,

“money or property” for purposes of the mail and wire fraud statutes is limited to “traditional

concepts of property[.]” See Defendants’ Motion to Dismiss Count One Insofar As It Alleges

Conspiracy to Defraud Universities of Property (quoting Cleveland, 531 U.S. at 24); see also

Carpenter v. United States, 484 U.S. 19, 25 (1987) (mail fraud statute is “limited in scope to the

protection of property rights”). The object of an alleged mail or wire fraud must therefore be of a

type that has “long been recognized as property.” Id. at 26. Services in general are not within the

scope of the “money or property” provisions of the fraud statutes. See McNally v. United States,

483 U.S. 350, 360-61 (1987) (holding that the “money or property” prong of the mail fraud statute

does not encompass honest services fraud); De Lima v. Sessions, 867 F.3d 260, 266 (1st Cir. 2017)

(noting that “the traditional common-law definition of theft was limited to property,

and . . . services were not considered property in many common-law jurisdictions”); United States

v. Alsugair, 256 F. Supp. 2d 306, 314 (D.N.J. 2003) (“Quite simply, there is no authority to support

the proposition that services are a traditional property interest.”).

       The Supreme Court has repeatedly advised that “‘ambiguity concerning the ambit of

criminal statutes should be resolved in favor of lenity.’” Cleveland, 531 U.S. at 25 (quoting Rewis

v. United States, 401 U.S. 808, 812 (1971)). This interpretive canon is “especially appropriate in

construing” the mail and wire fraud statutes, which are not only expansive in their own rights, but

also predicates for the RICO and money laundering statutes. See id. Thus, “[i]n deciding what is

‘property’ under § 1341,” the Supreme Court has observed that “‘it is appropriate, before we

choose the harsher alternative, to require that Congress should have spoken in language that is
                                                 -6-
clear and definite.’” Id. at 25 (quoting United States v. Universal C.I.T. Credit Corp., 344 U.S.

218, 222 (1952)). Courts do not interpret the fraud statutes to sweep in a broad range of conduct

“where Congress has not made such a design clear.” Id. at 26.

               2.      “Test Scores” Do Not Constitute “Money or Property”
       According to the indictment (the allegations of which are accepted as true only for purposes

of this motion), ACT Inc. is an organization that provides one service: administering the ACT, a

standardized test widely used in U.S. college admissions. See FSI § 21. The College Board

(together with the Educational Testing Service (“ETS”)) is alleged to be an organization that

administers the SAT, another widely used standardized test. See FSI § 22. Calculating test scores

is part of the service of administering a standardized test. But that service does not constitute

“money or property” for purposes of the fraud statutes (see, e.g., McNally, 483 U.S. at 360-61),

and test scores calculated as part of that service are likewise not something that has “long been

recognized as property.” Carpenter, 484 U.S. at 26.

       The decision in United States v. Ferrara, 701 F. Supp. 39 (E.D.N.Y. 1988), is instructive.

That case involved testing certificates issued by the Educational Commission for Foreign Medical

Graduates (“ECFMG”), “a not-for-profit corporation that administers an examination designed to

assess the English proficiency and medical knowledge of graduates of nonaccredited medical

schools planning to participate in residencies in American hospitals.” Id. at 40. When a candidate

successfully completes the ECFMG exam, “an ECFMG certificate for the graduate is issued.” Id.

The “certificate” is thus effectively a “score,” indicating that a candidate passed the exam.

       The Government in Ferrara acknowledged that the test certificates issued by ECFMG had

“no calculable dollar value,” but argued that because the certificates are the “work-product” of the

testing company and are relied upon by hospitals and licensing boards, the “integrity of the

certificates” represents a “property interest of ECFMG.” Id. at 42-43. The court rejected these


                                                -7-
arguments, noting that the Government had not even attempted to argue that “reputation” is a

traditionally “recognized property interest” for purposes of the fraud statutes. Id. at 43. The court

thus held that the “ECFMG certificate is not a property interest cognizable under the federal mail

fraud statute.” Id. at 43 (emphasis added).

       Notably, the only contrary authority of which counsel are aware, United States v. Hedaithy,

392 F.3d 580 (3d Cir. 2004), is a case that expressly declined to follow the Supreme Court’s

reasoning in Cleveland and involved materially different facts than those alleged here.           In

Hedaithy, foreign nationals were alleged to have “paid an impostor to take and pass” the Test of

English as a Foreign Language (“TOEFL”) in their places. Id. at 582-84. The court acknowledged

that the Supreme Court’s decision in Cleveland “clearly holds that [] such a score report would not

be property if it was issued by a governmental entity,” for example, in connection with a “bar exam

or medical licensing exam….” Id. at 596. The court nonetheless held that the TOEFL score report

could constitute “property” for purposes of mail fraud. Id. at 594.

       So far as counsel are aware, in the 16 years since Hedaithy was decided, no court has

followed its holding. But this Court need not consider becoming the first, because even under the

reasoning of Hedaithy, the test scores at issue in this case would not constitute property for

purposes of the fraud statutes.

       In Hedaithy, the Government alleged that at the time of the TOEFL tests, the “impostors”

falsely identified themselves as the defendants, fraudulently executed confidentiality agreements

with the testing company in the defendants’ names, and directed the test results to be sent to an

address controlled by a co-conspirator, where the physical score reports were “doctored” to insert

the defendants’ photographs in place of the impostor’s. Id. at 584, 595. The court concluded that

the testing company, ETS, “would not have allowed the hired test-takers to sit for the exam had it

known that they were not actually the Defendants, and had it known that they did not actually


                                                -8-
agree to preserve the exam’s confidentiality.” Id. at 595. The court reasoned that ETS “possesses

a property interest in the materials bearing its trademarks … , ‘such as the TOEFL’ … score

report,” and that because ETS “reserve[d] the right to convey [the reports] only to those individuals

who [met] its prescribed conditions,” reports fraudulently sent to an impostor constituted

“property” for purposes of the fraud statutes. Id. at 594-97.

       By contrast, in this case, there is no allegation that any of the Testing Defendants’ children

lied about their identifies, falsely signed a confidentiality agreement, were not entitled to receive

a score report, or doctored the reports they received. See generally FSI. Indeed, the indictment

does not even allege that the children were aware of the alleged cheating. Rather, what the

Government alleges is that “test scores” themselves were fraudulently inflated—unbeknownst to

the people who actually took the tests. See, e.g., FSI ¶ 65 (alleging “fraudulently obtained test

scores”) (emphasis added). Whatever property interest testing companies might have in a physical

score report “bearing [their] trademarks,” such companies do not have any interest—much less a

traditionally recognized property interest—in the scores themselves. Cf. Hedaithy, 392 F.3d at

594.

       Indeed, although unnecessary to the Court’s decision, it is notable that ACT, Inc. publicly

acknowledges on its website that “students own their test scores,” and that students may even

“direct ACT to delete their scores for a particular test date.”4 It is beyond serious dispute that

something students “own” and can instruct a testing company to “delete” is not something in which

that company has a “property interest” under any traditional understanding. Moreover, even if a

test score could in certain circumstances constitute a traditional form of “property” (which it


4      See      Help      and     FAQ’s,       ACT       (accessed      March      31,     2020),
https://www.act.org/content/act/en/products-and-services/the-act/help.html#testday      (emphasis
added). The Testing Defendants again respectfully request that the Court take judicial notice of
this publicly available information, the accuracy of which “cannot reasonably be questioned.” See
Fed. R. Civ. P. 201(b)(2); Giragosian, 547 F.3d at 65.
                                                -9-
cannot), the object of a mail or wire fraud must be property of the alleged victim—in this case, the

testing companies—not some other recipient. See Cleveland, 531 U.S. at 15 (“It does not suffice,

we clarify, that the object of the fraud may become property in the recipient’s hands; for purposes

of the mail fraud statute, the thing obtained must be property in the hands of the victim.”). This is

an additional and independently sufficient reason why the test scores at issue here do not constitute

“property” for purposes of the fraud statutes.

       Indeed, the Government’s novel theory that “test scores” constitute “property” for purposes

of mail and wire fraud represents a breathtaking expansion of the scope of those statutes, which

would cause them to sweep in a huge array of additional conduct. If it is a federal crime to cheat

on a standardized test, then presumably any cheating—even looking over a neighbor’s shoulder

and copying an answer—could lead to a potential felony conviction and up to 20 years’

imprisonment. That cannot be and is not the law.

       As the Supreme Court has said, courts should decline to adopt “encompassing”

interpretations of mail and wire fraud “where Congress has not made such a design clear.”

Cleveland, 531 U.S. at 26. The Court should reject the Government’s attempt to radically expand

the scope of the definition of “property” under the fraud statutes and dismiss Count One insofar as

it alleges a conspiracy to fraudulently obtain standardized test scores.

               3.       “Standardized Tests” Are Not An Object Of The Alleged Conspiracy
       Despite asserting throughout the indictment that the alleged conspiracy included the use of

“fraudulently obtained test scores,” conclusory charging language in Count One alleges a scheme

“to obtain … standardized tests and test scores….” FSI ¶ 370.a, b. (emphasis added); see generally

FSI. This boilerplate accusation, which is contradicted by other allegations throughout the

indictment, does not suffice to allege a conspiracy to obtain “standardized tests.”




                                                 - 10 -
       An indictment must contain a “definite written statement of the essential facts constituting

the offense charged[.]” Fed. R. Crim. P. 7(c)(1) (emphasis added). Although “statutory language

may be used in the indictment to describe the offense, ‘… it must be accompanied with such a

statement of the facts and circumstances as will inform the accused of the specific offence” charged

in the indictment. Troy, 618 F.3d at 34 (quoting Hamling v. United States, 418 U.S. 87, 117-18

(1974)). A mail fraud indictment fails to state an offense if it relies on “conclusory language” that

does not “divulge the factual basis” of the charge. Yefsky, 994 F.2d at 893.

       The indictment alleges that “fraudulently obtained test scores” were procured by “[p]aying

[Mark] Riddell … to pose as an exam proctor … [and] replace the students’ exam responses with

his own,” and by “[b]ribing college entrance exam administrators … to permit [the] cheating ….”

FSI ¶¶ 65, 66.c, d. (emphasis added). According to the indictment, Riddell “corrected” the

students’ answers after they completed their exams, and then provided the completed exams to an

“exam administrator,” Dvorskiy, who sent them to the testing companies. FSI ¶¶ 107, 109, 138,

141, 191, 194, 216, 218.5

       These allegations expressly describe a scheme that included “fraudulently obtained test

scores” (id. ¶ 65 (emphasis added)), but it does not allege—expressly or otherwise—a scheme to

obtain standardized tests. See United States v. Goldberg, 913 F. Supp. 629, 637 (D. Mass. 1996)

(“A ‘scheme to obtain’ requires proof of a false statement and must have as its object deprivation



5 Although the indictment alleges that Riddell in some instances “secretly provide[d] students with
answers during the exam” and “[took] the exam in place of the students” (FSI ¶ 66.d.), those
allegations do not apply to the Testing Defendants. As to each of the Testing Defendants, the
indictment alleges that Riddell “corrected” answers after their children took the exams. See FSI
¶ 107 (Defendants Gregory and Amy Colburn), ¶ 138 (Defendant Chen), ¶ 191 (Defendant
McGlashan), ¶ 216 (Defendant Palatella). The indictment also refers to a “third party” in addition
to Riddell who allegedly also served as an exam proctor (id. ¶ 66.d), but the allegations against the
Testing Defendants relate only to Riddell. FSI ¶¶ 107, 138, 191, 216. The indictment similarly
references a second test administrator, Niki Williams (FSI ¶ 33), but the allegations against the
Testing Defendants relate only to Dvorskiy. See FSI ¶¶ 109, 141, 194, 218.
                                               - 11 -
of property rights.”) (emphasis added); see also United States v. Sorich, 523 F.3d 702, 713 (7th

Cir. 2008) (noting that reversal of a mail fraud conviction is appropriate where the money or

property at issue is only “incidental” to the alleged scheme). For example, there is no allegation

that the students were ineligible to take the exams or fraudulently obtained access to test materials,

that exams were improperly duplicated or removed from test centers, or that completed exams

were sent anywhere other than to the testing companies. See generally FSI. The indictment in this

case has been superseded three times and spans over 70 pages in its current iteration. See FSI at

1, 72. If the Government were able to allege facts demonstrating a scheme to fraudulently obtain

standardized tests, they would have done so. They did not. Accordingly, the indictment does not

contain an adequate “statement of the facts and circumstances as will inform the accused of the

specific offence” regarding an alleged conspiracy to obtain standardized tests. Troy, 618 F.3d at

34; accord Yefsky, 994 F.2d at 893 (concluding that a mail fraud indictment was insufficient

because it relied on “conclusory” language that did not “divulge the factual basis of [the]

accusation”).

       Count One should therefore be dismissed in its entirety to the extent it alleges a conspiracy

to obtain “money or property” from ACT, Inc. and the College Board.

       B.       Conspiracy To Obtain Theft Of Honest Services
       Count One of the indictment must also be dismissed insofar as it alleges a theft of honest

services conspiracy, because it does not (and cannot) allege that the relevant test administrator—

Igor Dvorskiy—had a fiduciary relationship with either testing company.

                1.     Legal Standard
       As discussed above, the federal fraud statutes do not criminalize theft of services generally.

Rather, they encompass only theft of honest services, a doctrine that has “mainly been used to

punish fraud against the citizenry perpetrated by government officials.” United States v. Martin,

228 F.3d 1, 17 (1st Cir. 2000). Although theft of honest services has been applied in a handful of
                                                - 12 -
cases to private sector relationships, there “must be a breach of a fiduciary duty” owed to the victim

for the statute to apply. United States v. Czubinski, 106 F.3d 1069, 1077 (1st Cir. 1997) (emphasis

added). Indeed, the existence of a fiduciary duty is “central to the ‘fraud’ offense.” Skilling, 561

U.S. at 417 (Scalia, Thomas, Kennedy, JJ., concurring in part) (emphasis added).

        In the handful of private sector cases addressing theft of honest services, “[t]he existence

of a fiduciary relationship, under any definition of that term, was usually beyond dispute,” as in

the context of “employee-employer” relationships. Skilling, 561 U.S. at 408 n.41. By contrast,

fiduciary duties are not owed in many other private sector relationships, as in the case of an

independent contractor. See, e.g., Spring Inv’r Servs., Inc., 2013 WL 1703890, at *7 (observing

that an independent contractor “does not typically owe a fiduciary duty for the services [he]

performs.”).

        The rule that “ambiguity concerning the ambit of criminal statutes should be resolved in

favor of lenity” is “especially appropriate in construing” the mail and wire fraud statutes. Skilling,

561 U.S. at 410-11 (citations omitted). The First Circuit has cautioned in particular against

expansive interpretations of the “vague and undefined” concept of “honest services.” United

States v. Urciuoli, 513 F.3d 290, 294 (1st Cir. 2008). In construing the scope of that doctrine,

paramount concerns include “assuring fair notice to those governed by the statute,” and “cabining

the statute—a serious crime with severe penalties—lest it embrace every kind of legal or ethical

abuse[.]” Id. at 294; see also United States v. Sawyer, 85 F.3d 713, 725 (1st Cir. 1996) (noting

that the mail fraud statute “does not encompass every instance of official misconduct that results

in the official’s personal gain.”).

                2.      The Indictment Does Not Allege A Relationship Giving Rise To Fiduciary

                        Duties
        Count One of the indictment alleges a mail and wire fraud conspiracy “to defraud and

deprive, variously, ACT, Inc. and the College Board … of their right to the honest and faithful
                                                - 13 -
services of their test administrators ….” FSI ¶ 370.a., b.; see also FSI ¶ 66.c. (alleging means and

manner of conspiracy included “[b]ribing college entrance exam administrators … of the

administrators’ duty of honest services to ACT, Inc. and the College Board”). The allegations

against the Testing Defendants relate to only one test administrator, Dvorskiy. FSI ¶ 32; see FSI

32, 66 b. & c., 105, 138, 191, 212, 215. According to the indictment, Dvorskiy “served as a

compensated standardized test administrator for ACT, Inc. and the College Board.” FSI ¶ 32. The

indictment does not contain any other allegations regarding the nature of Dvorskiy’s purported

relationships with the testing companies, apart from the bald legal assertion that “ACT and SAT

administrators are agents of ACT and the College Board, respectively, and owe a duty of honest

services to those organizations.” FSI ¶ 49; see generally FSI.

       The fact that one private sector party is “compensated” by another does not establish a

fiduciary relationship. To the contrary, “[i]t is well-settled that a person who contracts to perform

an act for another, but who is not a fiduciary for the ‘other,’ is an independent contractor, not an

agent.” Bennett Importing v. Cont’l Airlines, 1998 WL 34031697, at *5 (D. Mass. Dec. 27, 1998)

(emphasis added); see also Spring Inv’r Servs., Inc., 2013 WL 1703890, at *7 (noting that an

independent contractor “does not typically owe a fiduciary duty for the services it performs.”).

Although the fact that one party “compensated” another might give rise to an independent

contractor relationship, establishing that the compensated party was a fiduciary of the party paying

the compensation requires more, such as an “employee-employer” relationship. See Skilling, 561

U.S. at 408 n.41.

       The indictment’s allegation that Dvorskiy was a “compensated standardized test

administrator for ACT, Inc. and the College Board” (FSI ¶ 32), thus does not suffice to allege a

fiduciary relationship as required for theft of honest services. Standing alone, the fact that

Dvorskiy was allegedly “compensated” by the testing companies might suggest that he was an


                                               - 14 -
independent contractor, but not a fiduciary. The indictment’s generic allegation that “ACT and

SAT administrators are agents of ACT and the College Board respectively, and owe a duty of

honest services to those organizations” (FSI ¶ 49), does not remedy this fatal defect.

       As noted above, an indictment must contain a “definite written statement of the essential

facts constituting the offense charged[.]” Fed. R. Crim. P. 7(c)(1) (emphasis added); accord Troy,

618 F.3d at 34; Yefsky, 994 F.2d at 893. Thus, in deciding a motion to dismiss an indictment, a

court “must accept factual allegations and disregard legal conclusions to determine whether the

alleged facts constitute a crime.” United States v. Harder, 168 F. Supp. 3d 732, 737 (E.D. Pa.

2016) (citing United States v. Zauber, 857 F.2d 137, 144 (3d Cir. 1988)). The allegations that

Dvorskiy was “an agent” of the testing companies and owed those companies a “duty of honest

services” constitute bald legal conclusions. The only fact alleged regarding this relationship—that

Dvorskiy was “compensated”—suggests he was at most an independent contractor, not an agent

or a fiduciary. The indictment thus fails to allege facts sufficient to establish the essential elements

of a conspiracy to obtain theft of honest services.

       Although not necessary to the Court’s decision on this point, the indictment’s failure to

allege such facts does not appear to be something that the Government could cure by superseding.

Documents produced by the Government in discovery show that Dvorskiy was in fact only loosely

affiliated with ACT, Inc. as an independent contractor, and may not even have been

“compensated” as the indictment alleges. See VB-RECORDS-00053480 at 00053480 (ACT, Inc.

document entitled “Terms and Conditions for Testing Staff,” which specifies that “[a]ll Test

supervisors, substitute test supervisors, room supervisors, proctors (all test center staff members)

and other suppliers who provide services to ACT at test centers (e.g., custodians, security

personnel) are independent contractors, not employees of ACT”) (emphasis added); VB-

RECORDS-00052055 at 00052056 (“When [Dvorskiy] worked in 2017 and 2018 he no longer


                                                 - 15 -
had [a payment] account on file so his payments weren’t made[.]”). Although the precise nature

of Dvorskiy’s relationship with the College Board is unclear, Dvorskiy appears to have only been

paid small honoraria sums akin to an independent contractor, rather than as an employee on the

College Board’s regular payroll.     See VB-RECORDS-00063956 at 00063970-73 (honoraria

payment history to Dvorskiy).

       Regardless, because the indictment does not allege any facts establishing a fiduciary

relationship between Dvorskiy and the testing companies, the theft of honest services conspiracy

fails as a matter of law and should be dismissed.

IV.    CONCLUSION
       Accordingly, the Court is respectfully requested to dismiss Count One’s allegations of a

conspiracy to defraud ACT, Inc. and the College Board of money or property, and of theft of honest

services.

Dated: April 1, 2020                                Respectfully submitted,


                                                    /s/ Jack. W. Pirozzolo
John C. Hueston (pro hac vice)                      Jack W. Pirozzolo (BBO # 564879)
jhueston@hueston.com                                jpirozzolo@sidley.com
Marshall Camp (pro hac vice)                        SIDLEY AUSTIN LLP
mcamp@hueston.com                                   60 State Street, 36th Floor
HUESTON HENNIGAN LLP                                Boston, MA 02109
523 W. 6th Street, Suite 400                        (617) 223-0304
Los Angeles, CA 90014
(213) 788-4340                                      Attorneys for Defendant
                                                    William McGlashan, Jr.


                                                    /s/ Cory S. Flashner
                                                    Cory S. Flashner (BBO # 629205)
                                                    R. Robert Popeo (BBO # 403360)
                                                    Mark E. Robinson (BBO # 423080)
                                                    Eóin P. Beirne (BBO # 660885)
                                                    MINTZ,       LEVIN,    COHN,    FERRIS,
                                                    GLOVSKY AND POPEO, P.C.
                                                    One Financial Center
                                                    Boston, MA 02111
                                                    (617) 348-1605 (telephone)
                                                    (617) 542-2241 (fax)
                                                    rpopeo@mintz.com
                                                    mrobinson@mintz.com
                                                    ebeirne@mintz.com

                                              - 16 -
     csflashner@mintz.com

     Counsel for Elisabeth Kimmel


     /s/ William J. Trach

         Sean M. Berkowitz (admitted pro hac vice)    William J. T
         LATHAM & WATKINS LLP                         LATHAM &
         330 North Wabash Avenue                      200 Clarend
         Suite 2800                                   Boston, MA
         Chicago, IL 60611                            Phone: 617.
         Phone: 312.777.7700                          Fax: 312.99
         Fax: 312.993.9767                            william.trac
         sean.berkowitz@lw.com
                                                      Roman Mar
         Perry J. Viscounty (admitted pro hac vice)   LATHAM &
         LATHAM & WATKINS LLP                         555 Eleventh
         650 Town Center Drive                        Suite 1000
         20th Floor                                   Washington,
         Costa Mesa, CA 92626                         Phone: 202.
         Phone: 714.540.1235                          roman.marti
         perry.viscounty@lw.com

         Sean M. Berkowitz (admitted pro hac vice)
         LATHAM & WATKINS LLP
         330 North Wabash Avenue
         Suite 2800
         Chicago, IL 60611
         Phone: 312.777.7700
         Fax: 312.993.9767
         sean.berkowitz@lw.com

         Counsel for Mossimo Giannulli and Loriri
         Loughlin


         David C. Scheper (admitted pro hac vice)
         SCHEPER KIM & HARRIS LLP
         601 West Fifth Street, 12th Floor
         Los Angeles, CA 90071
         Phone: 213.613.4655
         Fax: 213.613.4656
         dscheper@scheperkim.com

         Counsel for Lori Loughlin


         George W. Vien (BBO #547411)
         Joshua N. Ruby (BBO #679113)
         DONNELLY, CONROY & GELHAAR, LLP
         260 Franklin Street, Suite 1600
         Boston, MA 02110
         Phone: 617.720.2880
         Fax: 617.720.3554

- 17 -
         gwv@dcglaw.com
         jnr@dcglaw.com

         Mark E. Beck (admitted pro hac vice)
         Mark Beck Law, A Professional Corporation
         350 West Colorado Boulevard
         Suite 200
         Pasadena, CA 91105
         Phone: 213.596.7828
         mbeck@markbecklaw.com

         Counsel for Mossimo Giannulli


         /s/ David E. Meier
         David E. Meier (BBO #341710)
         Todd & Weld LLP
         One Federal Street, 27th Floor
         Boston, MA 02110
         (617) 720-2626
         dmeier@toddweld.com

         /s/ Stephen H. Sutro
         Stephen H. Sutro, Esq.
         Duane Morris, LLP
         Spear Tower
         One Market Plaza, Suite 2200
         San Francisco, CA 94105-1127
         (415) 957-3008
         SHSutro@duanemorris.com

         Counsel for Diane Blake and Todd Blake


         /s/ Brian T. Kelly
         Brian T. Kelly (BBO No. 549566)
         Joshua C. Sharp (BBO No. 681439)
         Lauren M. Maynard (BBO No. 698742)
         NIXON PEABODY LLP
         53 State Street
         Boston, MA 02109
         617-345-1000
         bkelly@nixonpeabody.com
         jsharp@nixonpeabody.com
         lmaynard@nixonpeabody.com

         Robert Sheketoff (BBO No. 457340)
         One McKinley Square
         Boston, MA 02109
         617-367-3449

         Counsel for Gamal Abdelaziz

         /s/ Reuben Camper Cahn

- 18 -
         Reuben Camper Cahn (pro hac vice)
         Jennifer L. Keller (pro hac vice)
         Chase A. Scolnick (pro hac vice)
         KELLER/ANDERLE LLP
         18300 Von Karman Avenue, Suite 930
         Irvine, CA 92612
         Tel: (949) 476-8700
         rcahn@kelleranderle.com

         Counsel for I-Hsen “Joey” Chen


         /s/ David S. Schumacher
         David S. Schumacher (BBO #647917)
         HOOPER, LUNDY & BOOKMAN, P.C.
         470 Atlantic Avenue, Suite 1201
         Boston, MA 02210
         (617) 532-2700
         (617) 345-3927 (fax)
         dschumacher@health-law.com

         Patric Hooper (pro hac vice)
         HOOPER, LUNDY & BOOKMAN, P.C.
         1875 Century Park East, Suite 1600
         Los Angeles, California 90067-2517
         (310) 551-8111
         (310) 551-8181 (fax)
         phooper@health-law.com

         Jordan Kearney (pro hac vice)
         HOOPER, LUNDY & BOOKMAN, P.C.
         575 Market Street, Suite 2300
         San Francisco, CA 94105
         (415) 875-8500
         (415) 875-8519 (fax)
         jkearney@health-law.com

         Counsel for Amy and Gregory Colburn


         /s/ Michael K. Loucks
         Michael K. Loucks (BBO #305520)
         SKADDEN, ARPS, SLATE, MEAGHER &
         FLOM LLP
         500 Boylston Street
         Boston, MA 02116
         (617) 573-4800
         michael.loucks@skadden.com

         Jack P. DiCanio (pro hac vice)
         Allen J. Ruby (pro hac vice)
         SKADDEN, ARPS, SLATE, MEAGHER &
         FLOM LLP
         525 University Avenue
         Palo Alto, CA 94301

- 19 -
         (650) 470-4500
         jack.dicanio@skadden.com
         allen.ruby@skadden.com

         Counsel for Defendant Marci Palatella


         /s/ Martin G. Weinberg
         Martin G. Weinberg
         Mass. Bar No. 519480
         20 Park Plaza, Suite 1000
         Boston, MA 02116
         (617) 227-3700
         owlmgw@att.net

         Matthew L. Schwartz (admitted pro hac vice)
         BOIES SCHILLER FLEXNER LLP
         55 Hudson Yards
         New York, NY 10001
         Tel.: (212) 446-2300
         Fax: (212) 446-2350
         E-mail: mlschwartz@bsfllp.com

         Counsel for Robert Zangrillo


         /s/ Tracy A. Miner
         Tracy A. Miner (BBO No. 547137)
         Megan A. Siddall (BBO No. 568979)
         Miner Orkand Siddall LLP
         470 Atlantic Ave, 4th Floor
         Boston, MA 02110
         Tel.: (617) 273-8377
         Fax: (617) 273-8004
         tminer@mosllp.com
         msiddall@mosllp.com

         Counsel for Homayoun Zadeh


         /s/ Michael Kendall
         Michael Kendall (BBO # 544866)
         Yakov Malkiel (BBO # 689137)
         WHITE & CASE LLP
         75 State Street
         Boston, MA 02109-1814
         Telephone: (617) 979-9310
         michael.kendall@whitecase.com
         yakov.malkiel@whitecase.com

         Andrew E. Tomback (pro hac vice)
         WHITE & CASE LLP
         1221 Avenue of the Americas
         New York, NY 10020
         Telephone: (212) 819-8428

- 20 -
         andrew.tomback@whitecase.com

         Counsel for John Wilson




- 21 -
                              CERTIFICATE OF SERVICE

   I hereby certify that on April 1, 2020, I filed this document through the CM/ECF system

and a copy will be sent electronically to the registered participants as identified on the Notice

of Electronic Filing (NEF).


                                              /s/ Jack W. Pirozzolo     ___
                                              Jack W. Pirozzolo




                                           - 22 -
